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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                   ALEXANDRIA DIVISION

     UNITED STATES, et al.,

                          Plaintiffs,

           vs.                                                No: 1:23-cv-00108-LMB-JFA

     GOOGLE LLC,

                          Defendant.


                       DEFENDANT GOOGLE LLC’S MOTION TO SEAL

          Pursuant to Local Civil Rule 5(C), Defendant Google LLC (“Google”), through its

   undersigned counsel, hereby respectfully moves this Court for an order granting Google’s motion

   to seal. Google seeks leave to file portions of its Proposed Findings of Fact and Conclusions of

   Law under seal. Consistent with the local rule and this Court’s Electronic Case Filing Policies and

   Procedures, undersigned counsel have filed the materials at issue using the sealed filing event on

   CM/ECF and hereby certify that they will serve a copy on opposing counsel and deliver a copy to

   this Court in a separate container labeled “UNDER SEAL.” The grounds for this motion are

   contained in the memorandum of law concurrently filed in support of this motion. A proposed

   order is attached for the Court’s convenience.




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   Dated: November 4, 2024              Respectfully submitted,


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